Case 17-10325-elf     Doc 18   Filed 06/28/17 Entered 06/28/17 11:07:23    Desc Main
                               Document      Page 1 of 1


                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                  :       CHAPTER 13
LaKeisha N Gadson

DEBTOR                                      :   BKY. NO. 17-10325ELF13

                                   1ST MODIFIED PLAN

$300 X 6 months and $434 X 54 months = $25,236 with any non-exempt personal injury
proceeds to be paid into the plan for the benefit of general unsecured creditors.

(A)   CIBIK & CATALDO            $3,000.00

      IRS   $5,770.00

(B)   PHFA Arrears of $13,468.68 with direct regular monthly payments.

      City of Philadelphia (w/s)     $639.17


(C)   Pro Rata Distribution to Unsecured Creditors


                                        Respectfully submitted,


DATE: June 28, 2017                     ________s/__________________________
                                        MICHAEL A. CATALDO, ESQUIRE
                                        CIBIK & CATALDO, P.C.
                                        1500 WALNUT STREET, STE. 900
                                        PHILADELPHIA, PA 19102
                                        (215) 735-1060
